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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

MIDAMINES SPRL LTD. (Ill. Corp.),                  )
                                                   )
               Plaintiff,                          )       No. 18 CV 01489
                                                   )
               v.                                  )       No. 18 CV 08226
                                                   )
KBC BANK N.V. and                                  )       Judge John J. Tharp, Jr.
KBC GROUP N.V.,                                    )
                                                   )
               Defendants.

                                              ORDER

       For the reasons stated below, the motions filed by KBC Bank N.V. and KBC Group N.V.
(“KBC”) to dismiss Midamines SPRL Ltd.’s (“Midamines”) amended complaints in cases 18-cv-
1489 [10] and 18-cv-8226 [20] are granted, and KBC’s motion for sanctions in case 18-cv-1489
[15] is denied. Although the dismissals are without prejudice to the merits of the claims,
Midamines may not reassert the claims in the Northern District of Illinois. Civil cases terminated.

                                           STATEMENT

        The facts regarding nearly all of the conduct alleged in the complaints at issue and a
summary of the six years of litigation history between Midamines and KBC and are set forth in
this Court’s opinion in a prior case dismissing Midamines’ complaint against KBC for lack of
personal jurisdiction. See Midamines SPRL Ltd. v. KBC Bank N.V., No. 16-cv-9429, 2018 WL
439211 (N.D. Ill. Jan. 16, 2018) (the “First Illinois Case”), Am. Mem. Op., ECF No. 55. In that
opinion, this Court also ruled on most of the arguments the parties raise against and in support of
the assertion of personal jurisdiction over KBC. Id. This Court will not rehash those facts or
procedural history here, which are incorporated by reference, nor will it re-open the personal
jurisdiction questions on which it ruled when dismissing that complaint.

         Midamines filed a motion for reconsideration of the dismissal order in the First Illinois
Case, which this Court denied. See First Illinois Case, Pl.’s Mot. to Reconsider, ECF No. 57;
Minute Entry denying Pl.’s Mot. to Reconsider, ECF No. 59. In its motion to reconsider,
Midamines included arguments that it did not raise during briefing on the motion to dismiss in the
First Illinois Case but that it raises here, namely, that this Court has personal jurisdiction over KBC
pursuant to RICO’s authorization of nationwide service of process and the operation of Federal
Rule of Civil Procedure 4(k). See First Illinois Case, Pl.’s Mot. to Reconsider 2–4, ECF No. 57.
This Court explained its denial of Midamines’ motion to reconsider:

               [T]he Court declines to consider Madimines’ arguments that
               personal jurisdiction over KBC may be exercised under Federal
               Rules of Civil Procedure 4(k)(1) and (2). Midamines has waived
               these arguments as it elected not to raise them in its initial briefing.
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               See Frietsch v. Refco, Inc., 56 F.3d 825, 828 (7th Cir. 1995) (“It is
               not the purpose of allowing motions for reconsideration to enable a
               party to complete presenting his case after the court has ruled against
               him. Were such a procedure to be countenanced, some lawsuits
               really might never end . . . .”); see also Palmer v. Marion County,
               327 F.3d 588, 597–98 (7th Cir. 2003) (explaining that arguments not
               raised in initial motions or responses are waived).

First Illinois Case, Minute Entry denying Pl.’s Mot. to Reconsider, ECF No. 59. Midamines did
not appeal the judgment entered against it in the First Illinois Case.

         A few weeks after the motion to reconsider the dismissal order was denied in the First
Illinois Case, Midamines filed in the Northern District of Illinois one of the two cases currently at
bar, Midamines v. KBC Bank N.V., No. 18-cv-01489 (N.D. Ill. Feb. 28, 2018) (the “Second Illinois
Case”). Midamines’ amended complaint in the Second Illinois Case largely reprises the allegations
made in the complaint dismissed in the First Illinois Case, but Midamines adds allegations
regarding allegedly unlawful transfers of funds made by KBC from 2009 to 2012, including a
$1.25 million transfer of funds from a Midamines bank account in March 2012, and asserts an
entitlement to relief under RICO. Compare First Illinois Case, Compl., ECF No. 1 (alleging that
KBC failed to honor $35,110 and €56,414 bank checks), with Second Illinois Case, Am. Compl.
¶¶ 4, 59, ECF No. 4 (making similar allegations regarding KBC’s failure to honor $35,110 and
€56,414 bank checks, but adding allegations regarding KBC’s involvement in unauthorized
transfer of $1.25 million of Midamines’ funds and asserting entitlement to relief under RICO).1
KBC promptly moved to dismiss the Second Illinois Case on a variety of grounds, including lack
of personal jurisdiction. See Second Illinois Case, Mem. of Law in Supp. of Defs.’ Mot. to Dismiss
the Am. Compl., ECF No. 11. KBC also moved for entry of a filing bar as a sanction against
Midamines’ vexatious litigation. See Second Illinois Case, Defs.’ Mot. for a Filing Bar Sanction,
ECF No. 15.2

       1
           As will be discussed further below, Midamines had previously asserted a substantially
similar RICO claim, based on the same allegations it makes in the Second Illinois Case, in a 2012
complaint Midamines filed in New York. See Midamines SPRL Ltd. v. KBC Bank N.V., No. 12-
cv-8089 (S.D.N.Y Nov. 7, 2012), Compl. ¶¶ 13–15, 23, 27, 49, ECF No. 1 (asserting entitlement
to relief under RICO and alleging that KBC failed to honor $35,110 and €56,414 bank checks and
that KBC was involved in unauthorized transfer of $1.25 million of Midamines’ funds).
       2
          The civil cover sheet in the Northern District of Illinois requires a plaintiff’s counsel to
specify whether the case is a refiling of a previously dismissed action involving the same parties
and relating to the same subject matter. See ILND 44 Civil Cover Sheet, Section X (Rev. 09/07/18),
available                                                                                           at
https://www.ilnd.uscourts.gov/_assets/_documents/_forms/_online/civil_cover_sheet%20Fillable
%20revised%207.10.17.pdf; see also Local Rules 3.1(a) (requiring plaintiff’s counsel to file civil
cover sheet), 40.3(b)(2) (requiring that civil cover sheet indicate case number of previously
dismissed case and judge to whom it was assigned). Midamines’ counsel, Hassan Abbas, did not
include a cover sheet with his filing. Due to the omission of the cover sheet, the Second Illinois
Case was erroneously assigned to the docket of another judge before being re-assigned to this
Court (Tharp, J.). See Second Illinois Case, Minute Entry dated June 5, 2018, ECF No. 30 (“The

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        In early December, shortly after the completion of briefing on KBC’s motion to dismiss in
the Second Illinois Case, Midamines filed another case, this time in the Circuit Court of Cook
County, which KBC removed to this Court. See Midamines v. KBC Bank N.V., No. 18-cv-8226
(N.D. Ill. Dec. 14, 2018) (the “Third Illinois Case”). The original complaint in the Third Illinois
case also asserted a RICO claim but Midamines subsequently filed an amended complaint that
dropped the RICO claim. See Third Illinois Case, Notice of Removal, Ex. A, Verified Complaint
¶¶ 9–18, ECF No. 1-1; Am. Compl., ECF No. 19.3 On January 9, 2019, this Court denied
Midamines’ motion to remand the Third Illinois Case and granted KBC’s motion to consolidate it
with the Second Illinois Case. See Third Illinois Case, Minute Entry, ECF No. 22. The Second and
Third Illinois Cases are the consolidated cases currently before this Court.

       Two days after this Court denied Midamines’ motion to remand the Third Illinois Case,
Midamines filed yet another complaint in Cook County Circuit Court (the “Fourth Illinois Case”).
See Second Illinois Case, Defs.’ Mot. to Further Supplement Briefing in Supp. of their Mot. for a
Filing Bar Sanction, ECF No. 54. As far as this Court is aware, the Fourth Illinois Case has not
been removed.

        KBC has moved to dismiss the complaints in the Second and Third Illinois Cases, arguing
that they are virtually identical to the complaint dismissed in the First Illinois Case aside from
Midamines’ untimely RICO claim. See Second Illinois Case, Mem. of Law in Supp. of Defs.’ Mot.
to Dismiss the Am. Compl., ECF No. 11; see also Third Illinois Case, Defs.’ Mot. to Dismiss Pl.’s
Am. Compl., ECF No. 20. Midamines responds that this Court may exercise personal jurisdiction
over KBC pursuant to Federal Rule of Civil Procedure 4(k) because RICO authorizes nationwide




Court finds this matter is the same as one previously before Judge Tharp and was assigned to this
Court in error.”); see also Second Illinois Case, Executive Committee Order dated June 5, 2018,
ECF No. 31 (re-assigning case to Tharp, J.). KBC maintains that the omission of the cover sheet
was intentional, but the Court notes that KBC itself failed to note the omission and proceeded as
if the case had been properly assigned to Judge Coleman without raising the issue. On this record,
the Court cannot conclude that Midamines’ failure to submit a cover sheet with its complaint
represented an intentional effort to avoid the assignment of the Second Illinois Case to this Court.
       3
         In an effort to avoid removal, Midamines attempted to file an amended complaint that
dropped the RICO claim and limited its claims to recovery on a check involving only about
$35,000, below the jurisdictional threshold, but the case had been removed before the amended
complaint was filed, making the state court filing ineffective. Midamines subsequently filed its
amended complaint in this Court as well, but that filing did not deprive the Court of jurisdiction,
which is premised on the state of affairs at the time of removal.


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service of process,4 KBC maintains an office in New York, and KBC waived service.5 See Second
Illinois Case, Pl.’s Opp’n to Mot. to Dismiss, ECF No. 36; see also Third Illinois Case, Pl.’s
Supplemental Resp. and Opp’n to Mot. to Dismiss, ECF No. 23.

         The amended complaint in the Third Illinois Case, ECF No. 19, is dismissed because the
same personal jurisdictional analysis applies to facts that are essentially unchanged from those that
the Court considered when it dismissed the complaint for lack of personal jurisdiction in the First
Illinois Case. See Midamines SPRL Ltd. v. KBC Bank N.V., No. 16-cv-9249, 2018 WL 439211
(N.D. Ill. Jan. 16, 2018) (dismissing complaint in First Illinois Case for lack of personal
jurisdiction). “If a defendant appears to challenge personal jurisdiction and loses, disposition of a
challenge is directly binding as a matter of res judicata. The same principle means that a ruling
against personal jurisdiction is also binding by way of issue preclusion so long as the same legal
standards apply to basically unchanged facts.” Sanderson v. Spectrum Labs, Inc., 227 F. Supp. 2d
1001, 1005 (N.D. Ind. 2000) (citing Charles A. Wright, Arthur A. Miller, and Edward H. Cooper,
Federal Practice and Procedure § 4430 (1981)) (brackets and ellipsis omitted). The allegations in
the amended complaint in the Third Illinois Case are substantively identical to those included in
the complaint in the First Illinois Case. Compare First Illinois Case, Compl., ECF No. 1 (alleging
that KBC failed to honor $35,110 and €56,414 bank checks), with Third Illinois Case, Am. Compl.,
ECF No. 19 (same as to $35,110 check). The amended complaint in the Third Illinois Case also
expressly disavows any entitlement to relief under RICO. See Third Illinois Case, Am. Compl.
¶ 25, ECF No. 19. As Midamines disavows the assertion in that complaint of any claim premised
on RICO, its argument that KBC is subject to the Court’s personal jurisdiction based on RICO’s
authorization of nationwide service of process and the operation of Federal Rule of Civil Procedure
4(k) cannot save the amended complaint in the Third Illinois Case.

        Nor can it save the Second Illinois case, even though the amended complaint in that case
includes the RICO claim. Again, Midamines’ attempt to invoke RICO’s authorization of
nationwide service of process comes too late; this Court has already held that Midamines forfeited
that argument by failing to raise it in support of its claim in the First Illinois Case. See First Illinois
Case, Minute Entry denying Pl.’s Mot. to Reconsider, ECF No. 59 (quoted supra at 1–2). The
waiver argument is even stronger here than it was when the Court denied Midamines’ motion to

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         Midamines incorrectly cites the statutory provision authorizing nationwide service as 18
U.S.C. § 1965(a). See Second Illinois Case, Pl.’s Opp’n to Mot. to Dismiss 4, ECF No. 36. Section
1965(a), however, “deals with venue in RICO cases,” Laski v. Mercantile Bancorp, Inc., 834 F.2d
668, 671 (7th Cir. 1987), not nationwide service; it is Section 1965(b) that confers jurisdiction by
authorizing nationwide service when required by the ends of justice. See also the discussion infra
at 5–6.
        5
            Midamines’ contention that the defendants waived service is based on the Waiver of
Service of Summons they executed. Second Illinois Case, Form AO 399, ECF No. 3. That
argument is specious. The waiver of summons expressly preserves “all defenses or objections
to . . . the court’s jurisdiction”; it merely waives an objection as to the lack of service. See Fed. R.
Civ. P. 4(d)(5) (“Waiving service of a summons does not waive any objection to personal
jurisdiction or to venue.”); see also Campbell ex rel. Equity Units Holders v. Am. Int’l Grp., Inc.,
86 F. Supp. 3d 464, 475 (E.D. Va. 2015) (holding that “the waiver of summons forms explicitly
reserves [sic] the party’s right to challenge the court’s jurisdiction”).


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reconsider in that lawsuit; were Midamines permitted to circumvent the denial to reconsider by
simply filing new lawsuits, “some lawsuits,” such as this one, “really might never end.” Frietsch,
56 F.3d at 828; see also In re McDonald, 489 U.S. 180, 184 n.8 (1989) (“Federal courts have both
the inherent power and constitutional obligation to protect their jurisdiction from conduct which
impairs their ability to carry out Article III functions.” (citation omitted)). Midamines’ complaint
in its 2012 New York lawsuit asserted an entitlement to relief pursuant to RICO and alleged
predicate acts that are the same as those alleged in its amended complaint in the Second Illinois
Case, including the allegations regarding the two bank checks and the unauthorized $1.25 million
transfer of Midamines’ funds. See Midamines SPRL Ltd. v. KBC Bank N.V., No. 12-cv-8089
(S.D.N.Y Nov. 7, 2012), Compl. ¶¶ 13–15, 23, 47, 49, ECF No. 1. Hence, by 2012, Midamines
clearly knew about the availability of a RICO cause of action based on the predicate acts alleged
in the First and Second Illinois Cases but nevertheless failed to assert RICO as a basis for the
assertion of personal jurisdiction over KBC at any time while the First Illinois Case was pending
from 2016 until its 2018 motion to reconsider. The filing of the Second Illinois Case therefore does
not lead the Court to conclude that it should revisit its previous denial of Midamines’ motion to
reconsider in the First Illinois Case.

        Even if Midamines’ nationwide service of process argument were not precluded by this
Court’s prior ruling, it would nevertheless fail for two additional reasons. First, as at least four
Circuits have held, § 1965(b) authorizes nationwide service of process only when an “action is
brought in a district court where personal jurisdiction can be established over at least one
defendant.” Cory v. Aztec Steel Bldg., Inc., 468 F.3d 1226, 1231 (10th Cir. 2006); see also FC Inv.
Grp. LC v. IFX Markets, Ltd., 529 F.3d 1087, 1099 (D.C. Cir. 2008); PT United Can Co. v. Crown
Cork & Seal Co., 138 F.3d 65 (2d Cir. 1998); Butcher’s Union Local No. 498 v. SDC Invest., Inc.,
788 F.2d 535, 538 (9th Cir. 1986).6 The Seventh Circuit has not considered this qualification to
§ 1965(b)’s authorization of service of nationwide process, though at least one other district court
in this Circuit has and found it persuasive. See Bartlett v. Bartlett, No. 16-CV-6595, 2017 WL
106043, *3 (N.D. Ill. Jan. 11, 2017). So too does this Court. As explained by the Second Circuit:

       Reading all of the subsections of § 1965 together, the court finds that § 1965 does
       not provide for nationwide personal jurisdiction over every defendant in every civil
       RICO case, no matter where the defendant is found. First, § 1965(a) grants personal
       jurisdiction over an initial defendant in a civil RICO case to the district court for
       the district in which that person resides, has an agent, or transacts his or her affairs.
       In other words, a civil RICO action can only be brought in a district court where
       personal jurisdiction based on minimum contacts is established as to at least one
       defendant.

       Second, § 1965(b) provides for nationwide service and jurisdiction over “other
       parties” not residing in the district, who may be additional defendants of any kind,
       including co-defendants, third party defendants, or additional counter-claim
       defendants. This jurisdiction is not automatic but requires a showing that the “ends

       6
         But see Republic of Panama v. BCCI Holdings (Luxembourg) S.A., 119 F.3d 935, 942
(11th Cir. 1997) (holding that RICO authorizes nationwide service of process as to all defendants);
ESAB Group, Inc. v. Centricut, Inc., 126 F.3d 617, 626 (4th Cir. 1997) (same).


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       of justice” so require. This is an unsurprising limitation. There is no impediment to
       prosecution of a civil RICO action in a court foreign to some defendants if it is
       necessary, but the first preference, as set forth in § 1965(a), is to bring the action
       where suits are normally expected to be brought. Congress has expressed a
       preference in § 1965 to avoid, where possible, haling defendants into far flung fora.

       Next, § 1965(c) simply refers to service of subpoenas on witnesses. Thus,
       § 1965(d)’s reference to “[a]ll other process,” means process other than a summons
       of a defendant or subpoena of a witness. This interpretation, one which gives
       meaning to the word “other” by reading sequentially to understand “other” as
       meaning “different from that already stated in subsections (a)–(c),” gives coherent
       effect to all sections of § 1965, and effectively provides for all eventualities without
       rendering any of the sections duplicative, without impeding RICO actions and
       without unnecessarily burdening parties.

PT United Can, 138 F.3d at 71–72. In view of the Court’s finding that it has no personal
jurisdiction over either KBC defendant, then, § 1965(b) cannot be invoked to confer personal
jurisdiction on either defendant.

        Finally, even if RICO’s nationwide service provision did not require at least one defendant
with minimum contacts with the forum, it would still not provide a basis for the exercise of
personal jurisdiction over the defendants because Midamines’ RICO claim is plainly time-barred.
A court need not, of course, determine that a claim has merit in assessing its jurisdiction, but where
a complaint plainly fails to state a colorable RICO claim, it cannot serve as the basis for permitting
nationwide service of process; “[o]nly if the allegations in the Complaint state a viable RICO claim
. . . would it be proper to exercise ends of justice RICO jurisdiction.” 7 W. 57th St. Realty Co.,
LLC v. Citigroup, Inc., No. 13 CIV. 981 PGG, 2015 WL 1514539, at *7 n.2 (S.D.N.Y. Mar. 31,
2015) (internal quotation marks and punctuation omitted) (nationwide service of process not
authorized by time-barred RICO claim). In short, it does not serve the ends of justice to permit
nationwide service of a complaint that is facially deficient. Courts therefore routinely hold that
they lack personal jurisdiction over RICO defendants where they conclude that the RICO claim is
not viable. See, e.g., Courboin v. Scott, 596 F. App’x 729, 733 (11th Cir. 2014) (plaintiff “has not
stated a colorable federal RICO claim, so he may not rely on RICO’s nationwide service-of-
process provision”); Tso v. Murray, No. 16-CV-2480-WJM-CBS, 2018 WL 1082239, at *5 (D.
Colo. Feb. 28, 2018) (“arguments pursuant to 18 U.S.C. § 1965(b) are also unavailing because
Plaintiff has . . . failed to state a viable RICO claim”), aff'd, No. 18-1122, 2019 WL 140992 (10th
Cir. Jan. 9, 2019); Delaware Motel Assocs., Inc. v. Capital Crossing Servicing Co. LLC, No. 17 C
1715, 2017 WL 4224618, at *7 (N.D. Ill. Sept. 22, 2017) (holding § 1965(b) inapplicable where
“plaintiffs have failed to state viable RICO claims”); In re Honey Transshipping Litig., 87 F. Supp.
3d 855, 871 (N.D. Ill. 2015) (“the class plaintiffs offer no authority for the proposition that a
plaintiff may serve a non-resident defendant pursuant to Section 1965(b), when the underlying
RICO claims are invalid”).

       Civil RICO actions are governed by a four-year statute of limitations. Agency Holding
Corp. v. Malley-Duff & Assocs., Inc., 483 U.S. 143, 156 (1987). The “injury arising from the first
predicate act to injure the plaintiff . . . starts the limitation period running, rather than the injury
from the last predicate act . . . .” Jay E. Hayden Found. v. First Neighbor Bank, N.A., 610 F.3d


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382, 386–87 (7th Cir. 2010); see also Foster v. Local Union 8A-28A Metal Refinishers, Painters,
Sign & Display, Equip. & Auto Painters, & Allied Trades, No. 16-cv-4174, 2017 WL 4150683, at
*6 (N.D. Ill. Sept. 18, 2017) (“[O]nce two predicate acts occur and cause the plaintiff’s injury, the
statute of limitations [on a RICO claim] begins to run and is not tolled by later wrongdoing.”). The
claim accrues “when the prospective plaintiff discovers (or should if diligent have discovered)
both the injury that gives rise to his claim and the injurer.” Jay E. Hayden Found., 610 F.3d at 387.

        Midamines alleges KBC committed multiple predicate acts in 2012 or earlier, including
the allegedly unlawful transfer of $1.25 million of Midamines’ funds in March 2012 and allegedly
unlawful acts relating to the $35,110 and €56,414 bank checks in late 2012. See Second Illinois
Case, Am. Compl. ¶ 59, ECF No. 4. Midamines had also discovered the alleged injury and injurer
by 2012 because its counsel wrote to KBC in 2011 and 2012 “as to the fraud and theft issues.” Id.
¶ 9. Indeed, it is pellucid that Midamines was aware that a RICO cause of action had accrued
because it asserted an entitlement to relief under RICO in its 2012 New York lawsuit. See
Midamines SPRL Ltd. v. KBC Bank N.V., No. 12-cv-8089 (S.D.N.Y Nov. 7, 2012), Compl. ¶ 49,
ECF No. 1. Counting four years from 2012 when Midamines was aware of predicate acts and the
availability of a RICO cause of action, that cause of action was clearly time-barred when
Midamines filed its complaints in the Second and Third Illinois Cases in 2018.

         Contrary to Midamines’ assertions, neither Federal Rule of Civil Procedure 3 nor the
Illinois Savings Statute, 735 ILCS 5/13-217, tolled the statute of limitations while Midamines’
previous lawsuits were pending in New York and Illinois. The “Illinois savings statute is
inapplicable” to a RICO claim because RICO is “a federal cause of action with a federally defined
statute of limitations.” Lakin v. Skaletsky, No. 08-cv-843, 2008 WL 4662846, at *5 (N.D. Ill. Oct.
15, 2008). And where, as here,7 a “suit is dismissed without prejudice, meaning that it can be
refiled, [the] tolling effect of the filing of the suit is wiped out and the statute of limitations is
deemed to have continued running from whenever the cause of action accrued, without interruption
by that filing.” Elmore v. Henderson, 227 F.3d 1009, 1011 (7th Cir. 2000). While Federal Rule of
Civil Procedure 3 may apply “to toll a state statute of limitations which governs a federal cause of
action,” Sentry Corp. v. Harris, 802 F.2d 229, 246 (7th Cir. 1986), Midamines’ RICO claim is
governed by a federal, not a state, statute of limitations.

       For all of these reasons, the Court lacks personal jurisdiction over the KBC defendants and
the Second and Third Illinois cases must therefore be dismissed.

       KBC has also moved to impose a filing bar sanction against Midamines and its counsel,
Hassan Abbas, arguing that their vexatious litigation tactics, such as the filing of duplicative
lawsuits, seem to be accelerating. See Second Illinois Case, Mem. of Law in Supp. of Defs.’ Mot.
for a Filing Bar Sanction, ECF No. 16. Midamines responds that this Court dismissed the
complaint in the First Illinois Case without prejudice and that his claims are not frivolous. See
Second Illinois Case, Pl.’s Opp’n to Mot. for Filing Bar, ECF No. 27.


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         The Court’s dismissal order in the First Illinois Case was amended to clarify that the
dismissal was without prejudice to refiling in an appropriate forum. See First Illinois Case, Am.
Mem. Op. 19, ECF No. 55. The 2012 New York lawsuit was also dismissed without prejudice. See
Second Illinois Case, Pl.’s Opp’n to Mot. for Filing Bar 10, ECF No. 27.


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         While the Court understands KBC’s frustration with Midamines’ litigation tactics, it
concludes that sanctions are not presently warranted. Even if unmeritorious here, the argument
that RICO’s nationwide service provision can bring a party within a court’s personal jurisdiction
is not frivolous, and Midamines did not file the Third Illinois Case in this Court; rather, it was
removed by the defendants. The Court does, however, warn Midamines that it may not reassert
any claims included in the First, Second, and Third Illinois Cases in the Northern District of
Illinois. In that sense, the dismissal of all three cases is with prejudice. The complaints in those
cases cannot be amended or refiled in this District; the cases are over in this District. Moreover,
the relief KBC requests in its motion for sanctions is effectively provided by this Court’s rulings
that this Court lacks personal jurisdiction over KBC for the claims asserted in the First, Second,
and Third Illinois Cases. In any duplicative lawsuits—whether currently pending or not yet filed—
other Illinois courts may of course consider any estoppel effect of this opinion and this Court’s
rulings. Further, any additional complaint Midamines or Abbas brings in any Illinois court relating
to these allegations against KBC is likely to be deemed frivolous and may result in an award of
sanctions by such court.




                                                             ______________________
Dated: March 14, 2019                                        John J. Tharp, Jr.
                                                             United States District Judge




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